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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

IN RE:                                                   CHAPTER 11 CASE

URBAN OAKS BUILDERS LLC,                                 CASE NO. 18-34892 (S.D. Tex.)
Debtor.

SOUTHSTAR CAPITAL GROUP, I,
LLC, a Florida limited liability company;
COTTINGTON ROAD TIC, LLC, a Delaware
limited liability company; and DURBAN ROAD
TIC, LLC, a Delaware limited liability company,     CASE NO. 6:18-cv-1453-Orl-37GJK
         Plaintiffs,
v.
1662 MULTIFAMILY LLC, a Delaware limited
liability company; HINES 1662 MULTIFAMILY, LLC,
a Delaware limited liability company; HINES
INVESTMENT MANAGEMENT HOLDINGS LIMITED
PARTNERSHIP, a Texas limited partnership;
HIMH GP, LLC, a Delaware limited liability company;
HINES REAL ESTATE HOLDINGS LIMITED
PARTNERSHIP, a Texas limited partnership; HINES
INTEREST LIMITED PARTNERSHIP, a Texas
Limited Partnership; JCH INVESTMENTS, INC.,
a Texas corporation; and URBAN OAKS BUILDERS, LLC,
a Delaware limited liability company,
         Defendants.
_______________________________________________/


                       NOTICE OF PENDENCY OF OTHER ACTIONS

                In accordance with Local Rule 1.04(d), Plaintiffs Southstar Capital Group I, LLC,

a Florida limited liability company, Cottington Road TIC, LLC, a Delaware limited liability

company, and Durban Road TIC, LLC, a Delaware limited liability company (collectively,

“Plaintiffs”) certify that the instant action:
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___X__ IS              related to pending or closed civil or criminal case(s) previously filed in
                       this Court, or any other Federal or State court, or administrative agency as
                       indicated below:

                       Southstar Capital Group I, LLC, et al. v. 1662 Multifamily, LLC et al.,
                       Case No. 2018-CA-415OC, Ninth Judicial Circuit in and for Osceola
                       County, Florida

                       Hines Interests Limited Partnership, et al. v. Southstar Capital Group I,
                       LLC et al., Case No. 6:18-cv-01147-ACC-DCI

                       In re Urban Oaks Builders LLC, Case No. 18-34892 (Bankr. S.D. Tex.)



______ IS NOT          related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

       Plaintiffs further certify that they will serve a copy of this Notice of Pendency of Other
Actions upon each party no later than fourteen days after appearance of the party.

Dated: September 25, 2018


                                                      Respectfully submitted,


                                                      /s/ Matthew I. Kramer
                                                      MICHAEL A. HORNREICH
                                                      Florida Bar No.: 379972
                                                      MATTHEW I. KRAMER
                                                      Florida Bar No.: 0937231
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                                                      Counsel for Plaintiffs Southstar Capital
                                                      Group, I, LLC, Cottington Road TIC, LLC
                                                      and Durban Road TIC, LLC
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 25, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system. I further certify that I mailed the foregoing

document and the notice of electronic filing by first-class mail to the following non-CM/ECF

participants:

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